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                                 No. 23-12958


             IN THE UNITED STATES COURT OF APPEALS
                   FOR THE ELEVENTH CIRCUIT
                  ________________________________

                             The State of Georgia,
                              Plaintiff-Appellee,

                                       v.

                            Mark Randall Meadows,
                             Defendant-Appellant.

                    ________________________________

Appeal From the United States District Court for the Northern District of Georgia
                  The Honorable Steve C. Jones, Presiding
                     D.C. Docket No. 1:23-cv-3621-SCJ
                  ________________________________

        State of Georgia’s Responsive Brief Pursuant to this Court’s
                         Order of October 17, 2023

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                                 Case No. 23-12958

    CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                 DISCLOSURE STATEMENT

      To the best of Appellee’s knowledge, no associations of persons,

partnerships, or corporations have an interest in the outcome of this case or appeal,

including subsidiaries, conglomerates, affiliates, parent corporations, or any

publicly held corporation that owns 10% or more of the party’s stock. The

following is a list, in alphabetical order, of all trial judges, attorneys, law firms, and

persons with such an interest. Appellee, like Appellant, has included the parties,

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                                INTRODUCTION

      On October 17, 2023, the Court directed the parties to file responsive briefs

answering the following question:

      What effect, if any, does United States v. Pate, No. 20-10545, --- F.4th
      ---, 2023 WL 6618405 (11th Cir. Oct. 11, 2023), have on the analysis
      of whether 28 U.S.C. § 1442(a)(1) permits a former “officer (or any
      person acting under that officer) of the Untied States or of any agency
      thereof, in an official or individual capacity,” to remove a criminal
      prosecution from state court to federal court?

Doc. [67] at 2. An examination of this Court’s reasoning in Pate reinforces the State

of Georgia’s earlier arguments regarding Section 1442(a)(1)’s application in this

case (Doc. [20]): only current federal officers may remove state actions to federal

court under the authority granted by Section 1442(a)(1).


                          THE STATUTORY SCHEME

      As this Court is aware, 28 U.S.C. § 1442(a)(1), the federal statute under which

Appellant sought to remove his criminal prosecution from the Superior Court of

Fulton County to the Northern District of Georgia, states:

      (a) A civil action or criminal prosecution that is commenced in a State
      court and that is against or directed to any of the following may be
      removed by them to the district court of the United States for the district
      and division embracing the place wherein it is pending:

      (1) The United States or any agency thereof or any officer (or any
      person acting under that officer) of the United States or of any agency
      thereof, in an official or individual capacity, for or relating to any act

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      under color of such office or on account of any right, title or authority
      claimed under any Act of Congress for the apprehension or punishment
      of criminals or the collection of the revenue.

At the direction of this Court (Doc. [7]), the State of Georgia has previously observed

(Doc. [20] at 2-5) that Section 1442(a)(1) is silent on the removal of a civil action or

a criminal prosecution commenced against or directed to a former officer of the

United States. This silence stands in obvious contrast to the language of 28 U.S.C. §

1442(b):

      A personal action commenced in any State court by an alien against any
      citizen of a State who is, or at the time the alleged action accrued was,
      a civil officer of the United States and is a nonresident of such State,
      wherein jurisdiction is obtained by the State court by personal service
      of process, may be removed by the defendant to the district court of the
      United States for the district and division in which the defendant was
      served with process.

(emphasis added). As demonstrated below, application of Pate’s reasoning to the

language of these subsections leads to a straightforward conclusion about their

respective applicability to former federal officials.

                                    ARGUMENT

      Following the principles outlined by this Court in Pate, analyzing the

plain language of the statute and applying well-established canons of

construction, 28 U.S.C. § 1442(a)(1) cannot be interpreted to authorize removal

of a criminal prosecution commenced in a state court against a former federal

officer. Additionally, Pate’s analysis of statutory text, existing precedent, and



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the relevance of a statute’s purported purpose all point to the same conclusion:

former officers cannot remove their cases under Section 1442(a)(1).

      As the Court emphasized in Pate, the natural starting place for statutory

analysis is the plain language of the statute: “When called on to resolve a dispute

over a statute’s meaning, [a court] normally seeks to afford the law’s terms their

ordinary meaning at the time Congress adopted them.” Pate at *8 (citing Niz-Chavez

v. Garland, 141 S.Ct. 1474, 1480 (2021). This Court applied the Dictionary Act, 1

U.S.C. § 1, as well as the definitions derived from both dictionaries and the common

understanding, to determine that “officer” traditionally refers to current, not former,

officers. Pate at *9-11. The State of Georgia is not aware of any basis for why the

Court’s reasoning on this point should not apply to the term “officer” under Section

1442(a)(1). The “ordinary meaning” of the term “officer” simply does not include

“former officer” as well.

      Turning from plain language to statutory context, while Section 1442(a)(1)

authorizes federal officers to have state prosecutions against them removed to federal

court under certain circumstances, it “does not explicitly state whether it protects

only current, or also former, federal employees.” Pate at *15. Conversely, Section

1442(b) explicitly provides for the removal of certain actions against any citizen

“who is, or at the time the alleged action accrued was, a civil officer of the United

States and is a nonresident of such State . . . .” The State of Georgia has previously


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argued that this Court should recognize that this difference is intentional, and as a

result, Section 1442(a)(1) cannot authorize removal of a state criminal prosecution

against a former federal officer. See Doc. [20] at 2-5. In Pate, this Court applied the

same “family of canons” previously cited by the State and reached a similar

conclusion.

      In particular, this Court cited Freemanville Water Sys., Inc. v. Poarch Band of

Creek Indians, 563 F.3d 1205, 1209 (11th Cir. 2009) for three crucial and

longstanding principles: first, “[w]here Congress includes particular language in one

section of a statute but omits it in another section of the same Act, it is generally

presumed that Congress acts intentionally and purposely in the disparate inclusion

or exclusion.” Pate at *13. This presumption is even more applicable in this case,

which involves differing subsections of the same statute, than in Pate, which

involved various statutes within the same “field of legislation.” Id.1




1
  Citing now-Justice Kavanaugh, Pate also dispensed with a point previously raised
by Appellant: that the predecessors to subsections 1442(a) and (b) were “not written
together but combined in 1948” and that subsection (b) was “enacted decades after
the predecessor to” subsection (a). See Doc. [21] at 1, 1 n.2. As discussed below, the
fact of their combination into a single statute does not cut against the presumption
of Congress’s awareness of the discrepancy in language. Regardless, as this Court
explained, the fact is not significant: “‘[t]he dissimilar language need not always
have been enacted at the same time or found in the same statute’ to warrant the
presumption.” Pate at *13 (citing United States v. Papagno, 639 F.3d 1093, 1099 n.3
(D.C. Cir. 2011)).

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      “Second, and relatedly, ‘where Congress knows how to say something but

chooses not to, its silence is controlling.’” Id. And “[t]hird, ‘when Congress uses

different language in similar sections, it intends different meanings.’” Id. at *13-14.

The history of Section 1442 demonstrates that Congress plainly knew, and has

always known, how to authorize removal for former officers by clarifying the

element of temporality in this specific statute. When codified in 1911, one of Section

1442(a)(1)’s predecessors contained essentially the same language it presently

retains, lacking any reference to temporality, when referring to federal revenue

officers (later amended to apply to all federal officers). See Mar. 3, 1911, ch. 231,

§33, 36 Stat. 1087, 1097. However, in the very same section, Congress did include

a temporal element for another class of officers, authorizing removal “when any suit

is commenced against any person for on account of anything done by him while an

officer of either House of Congress in the discharge of his official duty, in executing

any order of such House . . . .” Id. (emphasis added).

      This history directly addresses Appellant’s previous argument that the

discrepancy in language between subsections 1442(a)(1) and (b) can be explained

by their differing “focuses,” namely that subsection (a)(1) concerns “conduct”

whereas subsection (b) concerns “status” as either a current or former federal officer.

Doc. [21] at 3-4. Even if differences in purpose or “focus” exist between the

subsections, Congress clearly knew how to write a removal statute explicitly


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broadening the temporal requirements for conduct when it authorized removal for

any Congressional officer prosecuted for “anything done by him while an officer of

either House of Congress in the discharge of his official duty” in the predecessor to

Section 1442(a)(1). That language clearly indicated that both present and former

Congressional officers were authorized to seek removal. And yet, in the same statute,

Congress chose not to include any such temporal language to broaden the meaning

of “officer of the United States” to include former officers of the United States. As

outlined in Pate, it is therefore presumed that Congress intended different meanings,

and its silence is controlling.

      Additionally, despite many opportunities to do so spanning more than a

century, Congress has never amended the language of subsection 1442(a)(1) to

reflect temporality. As pointed out by Appellant, subsections (a)(1) and (b) were

combined (from formerly adjacent removal statutes)2 into 28 U.S.C. § 1442 in 1948.

See 62 Stat. 938; Doc. [21] at 1. Despite the discrepancy between the two

subsections, Congress did not amend subsection 1442(a)(1) to explicitly include

former officers, nor did it do so during subsequent rounds of revision in 1996, 2011,

or 2013. As this Court observed, “‘Congress’ clear ability to modify [a] term . . . to


2
 Because the history of Section 1442 demonstrates that its subsections have, in one
form or another, been adjacent removal provisions for over a century, they should
not engender doubts about statutory cohesion like the Title 18 criminal provisions
discussed by this Court in Pate. See Pate at *48 (Grant, J., dissenting) and *62
(Lagoa, J., dissenting).

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indicate the type thereof in other instances … and the fact that that it did not do so

in the disputed phrase . . .’ signifies ‘that it had no intention to so limit the term’ in

the latter instance.” Pate at *14 (quoting CBS Inc. v. Primetime 24 Joint Venture,

245 F.3d 1217, 1226 (11th Cir. 2001)).

      In Pate, this Court also rejected an argument, raised by the government there

and by Appellant here, concerning the phrase “on account of.” The statutes at issue

in Pate involved the phrase “on account of the performance of official duties.”

Similarly, a predecessor of Section 1442(a)(1) stated that it applied to officers of the

United States sued or prosecuted “for or on account of any act done” under their

official authority; the language has since been abbreviated to “for or related to.” The

argument, as summarized by Appellant, is that “[t]he original phrasing makes clear

that being a current officer is not required, and there is no reason to think subsequent

revisions added such a requirement.” Doc. [21] at 5.

      However, this Court indicated in Pate that such an argument “doesn’t

withstand careful scrutiny.” Pate at *16. This is because the “for or on account of”

language is merely a subsequent necessary condition for the application of the

statute. The primary necessary condition is that the person involved “must be a

federal ‘officer or employee’” in the first place. Id. (emphasis original). This Court

explained that the absence of temporality in the second condition, whether it be “for

or related to” or “for or on account of,” provides no guidance about the meaning of


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the first condition, requiring the actual involvement of an officer of the United States.

Id. at *16-17. As established above, the plain meaning of “officer of the United

States” is “current officer of the United States,” and if Congress sought to broaden

that meaning, it knew how to do so. It could have incorporated the simple language

it originally applied to Congressional officers, covering any acts taken while that

officer was fulfilling Congressional duties, or it could have made an express

statement about temporality, as it did in Section 1442(b). However, it did neither,

and, as this Court emphasized, the use of a phrase such as “for or on account of

official duties” does not alter what Congress meant when it referred to “officers of

the United States.”

      Finally, in Pate, this Court discussed whether and how a statute’s purpose

ought to inform its interpretation by the courts. Just as Appellant argues in this case

(see Doc. [21] at 8-10), the government in Pate argued that the statutes at issue

should be liberally construed in order to achieve their purposes. Pate at *24-26. This

Court roundly rejected this argument, noting that “to the extent a statute’s purpose

is relevant, ‘[t]he best evidence of that purpose is the statutory text adopted by both

Houses of Congress and submitted to the President.’” Id. at *21 (quoting West Va.

Hosps., Inc. v. Casey, 499 U.S. 83, 98 (1991)). The Supreme Court has “explained

many times over many years that, when the meaning of [a] statute’s terms is plain,

our job is at an end.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1749 (2020). Since it


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is possible to arrive at a “plain-text reading” of Section 1442(a)(1) using identical

reasoning employed in Pate, there is no need to look past the words of the statute in

an attempt to glean the statute’s meaning.

      Appellant will no doubt maintain, as he previously has, that Section 1442 is

intended to be broadly construed in order to achieve its purposes. See Doc. [21] at

8-10. But this was, again, precisely the argument submitted by the government, and

rejected by this Court, in Pate; the government invoked the need for “maximum

protection for federal officers and federal functions.” Pate at *25. This Court

responded that “no legislation pursues its purposes at all costs,” and “the textual

limitations upon a law’s scope are no less a part of its ‘purpose’ than its substantive

authorizations.” Id. (citations omitted). The same could be said here. It is true that

Section 1442, as a rule, is to be construed broadly, but that does not mean that a court

may ignore the plain meaning of the statute’s words in order to arrive at a broader

application. The Supreme Court itself has not acceded to every argument intended

to broaden the application of Section 1442, as demonstrated by its holding in Mesa

v. California, 489 U.S. 121, 135 (1989), where it rejected the expansive argument

that 1442 “must be construed broadly to permit removal of any civil actions or

criminal proceedings brought against a federal officer for acts done during the

performance of his duties regardless of whether that officer raises a federal defense.”




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      In sum, Pate provides reasoning that applies directly to the circumstances of

this case, supplying a ready answer to the Court’s question regarding analysis of

whether or not former federal officers can invoke 28 U.S.C. § 1442(a)(1) to remove

their cases to federal court. They cannot. The ordinary meaning of the term “officer”

does not include “former officer.” Statutory context indicates that while Congress

employed temporal language to broaden “officer” in Section 1442(b) (and in the

predecessor to 1442(a)(1) with regard to Congressional officers), it declined to do

so with regard to “officers of the United States” under 1442(a)(1), a decision it has

never revisited. Pate also addressed and discarded arguments regarding the history

and purpose of the language in Section 1442(a)(1). The case provides a careful and

considered analysis of the same issues of interpretation present in this case, and it is

now even clearer than before that former federal officers may not seek to remove

their cases under the authority of 28 U.S.C. § 1442(a)(1).

      Respectfully submitted this 3rd day of November 2023,

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                        CERTIFICATE OF COMPLIANCE

1.      This responsive brief complies with the type-volume limit of the Federal

        Rules of Appellate Procedure and the instruction of the Court that this

        responsive brief “should be no more than ten pages.” Excluding the parts of

        the document excluded by Federal Rule of Appellate Procedure 32(f) and

        Eleventh Circuit Ruile 26.1-3(c), this document contains 2,547 words.

     2. This responsive brief complies with the typeface requirements of Federal

        Rule of Appellate Procedure 32(a)(5) and the type-style requirements of

        Federal Rule of Appellate Procedure 32(a)(6) because this responsive brief

        has been prepared in a proportionally spaced typeface using Microsoft Word

        in 14-point Times New Roman.

     This 3rd day of November 2023,

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                        CERTIFICATE OF SERVICE

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    This 3rd day of November 2023,

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